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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

 UNITED STATES OF AMERICA,                            )
                                                      )
                Plaintiff,                            )
                                                      )
        v.                                            )
                                                        Case No. 4:22-CR-648-AGF-JMB
                                                      )
                                                      )
 JOSHUA LEE,                                          )
                                                      )
                Defendant.                            )

                                                 ORDER

       This matter comes before the Court on its own initiative. Pursuant to Federal Rule of Criminal

Procedure 5(f) and the Due Process Protections Act, Pub. L. No 116–182, 134 Stat. 894 (Oct. 21, 2020),

the Court ORDERS the United States to adhere to the disclosure obligations set forth in Brady v.

Maryland, 373 U.S. 83 (1963) and its progeny. Brady v. Maryland instructs that “the suppression by the

prosecution of evidence favorable to an accused” violates due process where the evidence is “material

either to guilt or to punishment, irrespective of the good faith or bad faith of the prosecution.” 373 U.S.

at 87. Failure to adhere to this requirement may result in serious consequences, up to and including

vacating a conviction or disciplinary action against the prosecution.

       Having given counsel the oral admonition required by the Due Process Protections Act, this

Order serves as the reminder of prosecutorial obligation and duties in accordance with Rule 5(f).

       It is SO ORDERED.


                                                 NANNETTE A. BAKER
                                                 UNITED STATES MAGISTRATE JUDGE
Dated this 21st day of November, 2022.
